1    Abby L. Dennis, DC Bar No. 994476
     Peggy Bayer Femenella, DC Bar No. 472770
2    Joshua Goodman, NY Bar (No Number)
     Jeanine Balbach, MD Bar (No Number)
3
     Federal Trade Commission
4    600 Pennsylvania Avenue, NW
     Washington, DC 20580
5    Tel: (202) 326-2381
     adennis@ftc.gov; pbayer@ftc.gov;
6    jgoodman@ftc.gov; jbalbach@ftc.gov;

7    [Additional counsel identified on signature page in accordance with Local Rule 3-4(a)(1)]

8
                                  UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
10

11   FEDERAL TRADE COMMISSION,
12                 Plaintiff,
13          v.                                        Case No. 5:22-cv-04325-EJD
14   META PLATFORMS, INC., et al.                     PLAINTIFF FEDERAL TRADE
                                                      COMMISSION’S FINAL NON-PARTY
15                 Defendants.                        FACT WITNESS LIST
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     PLAINTIFF FTC’S FINAL NON-PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD
1           Pursuant to the Joint Stipulated Case Management Order at ¶ H.9.b (Dkt. 69) and Joint

2    Stipulated Discovery Plan and Briefing Schedule at ¶ B.4 and Exh. A (Dkt. 86), Plaintiff Federal

3    Trade Commission provides its Final Non-Party Fact Witness List with the individuals whose

4    testimony Plaintiff presently intends to present either live and/or via deposition video at the

5    evidentiary hearing on Plaintiff’s motion for a preliminary injunction. Plaintiff reserves the right

6    to: (1) call any fact witness at the hearing who appears on Defendants’ final party or non-party

7    fact witness list; (2) call any witness needed solely for impeachment; (3) call the custodian of

8    records of any party or non-party from whom documents or records have been obtained to the

9    extent necessary to demonstrate the authenticity or admissibility of documents, in the event a

10   stipulation cannot be reached; and (4) supplement this list in accordance with the Joint Stipulated

11   Discovery Plan and Briefing Schedule at ¶ B.4 (Dkt. 86).

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     PLAINTIFF FTC’S FINAL NON-PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD         1
      NAME            EMPLOYER SUMMARY OF GENERAL                          MODE OF
1                                     TOPICS OF ANTICIPATED                TESTIFYING
2                                     TESTIMONY
      Juston Payne    Alphabet, Inc. Development and sale of fitness or    Live or by
3                                     VR products; matters related to      deposition video
                                      any defenses raised by Defendants
4                                     or any topics addressed in the
                                      witness’s deposition.
5
      Frank Cassanova Apple Inc.      Development and sale of fitness or   Live or by
6                                     VR products; matters related to      deposition video
                                      any defenses raised by Defendants
7                                     or any topics addressed in the
                                      witness’s deposition.
8     Julia Klim      Equinox         Development and sale of fitness or   By deposition video
9                     Media, LLC      VR products; matters related to
                                      any defenses raised by Defendants
10                                    or any topics addressed in the
                                      witness’s deposition.
11    Olivia Lange    Lululemon       Development and sale of fitness or   By deposition video
                      Athletica, Inc. VR products; matters related to
12
                                      any defenses raised by Defendants
13                                    or any topics addressed in the
                                      witness’s deposition.
14    James Healey    Nike, Inc.      Development and sale of fitness or   By deposition video
                                      VR products; matters related to
15                                    any defenses raised by Defendants
                                      or any topics addressed in the
16
                                      witness’s deposition.
17    Dion Sanders    Peloton         Development and sale of fitness or   By deposition video
                      Interactive,    VR products; matters related to
18                    Inc.            any defenses raised by Defendants
                                      or any topics addressed in the
19                                    witness’s deposition.
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21   Dated: November 18, 2022
22
                                                     By: /s/ Abby L. Dennis
23
                                                     Abby L. Dennis
24                                                   Peggy Bayer Femenella
                                                     Joshua Goodman
25                                                   Jeanine Balbach
                                                     Michael Barnett
26
                                                     E. Eric Elmore
27                                                   Justin Epner

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     PLAINTIFF FTC’S FINAL NON-PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD         2
                                           Bradley Grossman
1                                          Sean D. Hughto
2                                          Frances Anne Johnson
                                           Andrew Lowdon
3                                          Lincoln Mayer
                                           Erika Meyers
4                                          Susan Musser
                                           Adam Pergament
5
                                           Kristian Rogers
6                                          Anthony R. Saunders
                                           Timothy Singer
7                                          James H. Weingarten
                                           Federal Trade Commission
8                                          600 Pennsylvania Avenue, NW
                                           Washington, DC 20580
9
                                           Tel: (202) 326-2381
10
                                           Erika Wodinsky
11                                         90 7th Street, Suite 14-300
                                           San Francisco, CA 94103
12                                         Tel: (415) 848-5190

13                                         Attorneys for Plaintiff
                                           Federal Trade Commission
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     PLAINTIFF FTC’S FINAL NON-PARTY FACT WITNESS LIST
     CASE NO. 5:22-cv-04325-EJD         3
